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                    EXHIBIT B
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

YELLOW CORPORATION, et al.,                                 Case No. 23-11069 (CTG)

                     Debtors. 1



                          ORDER GRANTING MOTION FOR RELIEF FROM
                            THE AUTOMATIC STAY TO THE EXTENT OF
                                LIABILITY INSURANCE PROCEEDS

           AND NOW THIS _________ day of _______________ 2023, upon consideration of the

    Motion Of Paul Clark and Jean Clark For Relief From The Automatic Stay To The Extent Of

    Liability Insurance Proceeds, the Court having determined that good and adequate cause exists

    for approval of the Motion, and the Court having determined that no further notice of the Motion

    is necessary,

           IT IS ORDERED:

          1.         That the Motion is GRANTED and the automatic stay of 11 U.S.C. § 362(d) of the

Bankruptcy Code is immediately terminated as to Movant to permit Movant to take appropriate

action described as follows 2:

                     i.     To prosecute the Claims to final judgment or other resolution; and

                    ii.     To collect from any available insurance policy proceeds on account of any

                            judgment or other resolution.



1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park,
Kansas 66211.
2
     Capitalized terms not otherwise defined herein have the meaning ascribed to such terms in the Motion
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       2.      Nothing in this Order shall permit any party to take any other action without further

order of this Court.

       3.      Notwithstanding Federal Rule of Bankruptcy Procedure 4001(a)(3), this order is

effective immediately.


   ORDERED that this Order shall be fully effective and enforceable immediately upon entry.




                                                 2
